                           IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,
                                                           Case No. 3:16-cr-00016-02-TMB-KFM
                          Plaintiff,

         vs.                                                   FINAL REPORT AND
                                                          RECOMMENDATION REGARDING
 JAFARI LEWIS-DANIEL,                                      THIRD MOTION TO SUPPRESS 1
                                                                  [Docket No. 39]
                          Defendant.




                                       I.   MOTION PRESENTED

                Before the Court is Jafari Lewis-Daniel’s motion to suppress evidence of statements

he gave to the FBI on February 9, 2016. 2 The government opposes. 3 No party asked for an

evidentiary hearing or for argument, and this Court concludes that neither is required. Upon

careful consideration of all the circumstances surrounding the FBI questioning of Jafari 4 on

February 9, 2016, this Court recommends that the District Court, upon independent review, deny

the motion to suppress at Docket No. 39.




         1
           This report and recommendation is being issued as a final report and recommendation. Pursuant
to Fed. R. Crim. P. 59(b)(3), any objections will be considered by the District Court Judge, who will accept,
reject, or modify the recommendation, or resubmit the matter to the Magistrate Judge for additional
consideration and recommendations.
         2
           Docket No. 39.
         3
           Docket No. 49.
         4
           This report and recommendation refers to Jafari Lewis-Daniel as Jafari to avoid any confusion
with co-defendant Jarron Ezekiah Lewis-Daniel.



       Case 3:16-cr-00016-TMB               Document 58        Filed 07/14/16        Page 1 of 13
                                       II.   BACKGROUND

A.      The Indictment

                Jafari Lewis-Daniel and Jarron Ezekiah Lewis-Daniel jointly are charged with

armed bank robbery in violation of 18 U.S.C. § 2113(a), (d) (Count 1). 5 The Indictment alleges

that on December 23, 2015, they stole $230,050 belonging to the Wells Fargo Bank by force,

violence, and intimidation with a firearm. 6 The Indictment also seeks forfeiture of $97,888, a 55

inch big screen television, 99 percent pure gold foiled playing cards, a 2010 Honda motorcycle, a

2003 Dodge truck, and 2005 Audi A4 automobile if either is convicted of the armed bank robbery. 7

B.      Jafari Lewis-Daniel’s Motion to Suppress and the Government’s Response

                Jafari asks for an order suppressing statements he gave to law enforcement on

February 9, 2016. 8 Jafari contends that his statements must be suppressed because they were

obtained in violation of the Fifth and Sixth Amendments. 9 In particular, Jafari asserts that he

invoked his right to counsel during an interview with Special Agent Wendy Terry, and that all

statements to law enforcement following his invocation must be suppressed under Edwards v.

Arizona. 10 Jafari’s motion is supported by the sworn declaration from his counsel attesting to the

truthfulness of the factual representations contained in his suppression request. 11

                The government opposes. 12 It contends that the Edwards rule was not violated

because Jafari was never in Miranda custody when he voluntarily responded to FBI questions.13




        5
           Docket No. 9.
        6
           Id.
         7
           Id.
         8
           Docket No. 39 at 1.
         9
           Id.
        10
           451 U.S. 477 (1981).
        11
           Docket No. 40.
        12
           Docket No. 49.
        13
           Id. at 8-12.

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                        Page 2
       Case 3:16-cr-00016-TMB            Document 58         Filed 07/14/16       Page 2 of 13
The government’s opposition is supported by the sworn declaration of Special Agent Wendy

Terry, which attests to the circumstances surrounding the February 9, 2016, FBI questioning of

Jafari. 14 The government’s opposition is supplemented with a conventionally filed CD which

contains recordings of Jafari’s February 9, 2016 interviews with law enforcement. 15

C.      Jafari’s Response to the Order from Chambers

                In response to this Court’s minute order, 16 Jafari clarified his suppression request.17

In particular, Jafari indicated he: (1) does not contend that he was in custody during his February 9,

2016 interviews with Special Agent Terry; (2) does not contest the veracity of Special Agent

Terry’s sworn declaration; and (3) was not requesting an evidentiary hearing on whether he was

in Miranda custody during the February 9, 2016 interview with Special Agent Terry. 18

D.      The Facts

                On December 23, 2015, an Axiom armored car was robbed outside a Wells Fargo

Bank in Anchorage, Alaska. 19 The robbers made off with $230,050, money which belonged to the

bank. 20 On February 9, 2016, at approximately 6:40 a.m., eleven law enforcement agents executed

a robbery investigation-related search warrant on Jafari’s apartment. 21 The officers knocked on

Jafari’s door and announced their presence. 22 When no one responded after a minute, the officers

used a battering ram to break down the door. 23 The officers then ordered Jafari, his girlfriend, and




        14
           Docket No. 50.
        15
           Docket No. 55 (conventionally filed CD of February 9, 2016 recorded interviews).
        16
           Docket No. 56.
        17
           Docket No. 57.
        18
           Id.
        19
           Docket Nos. 1 at 6; 50 at ¶ 2.
        20
           Docket No. 1 at 6.
        21
           Docket No. 50 at ¶¶ 3, 4.
        22
           Id. at ¶ 4.
        23
           Id. at ¶ 5.

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                        Page 3
       Case 3:16-cr-00016-TMB            Document 58         Filed 07/14/16       Page 3 of 13
another female resident out of the apartment. 24         The three were held briefly in a hallway

immediately outside the apartment while the officers cleared it to ensure that no one was hiding or

destroying evidence. 25

                Once the apartment was cleared, Jafari and the two women returned to the

apartment. 26 Jafari sat on a couch. 27 FBI Special Agent Wendy Terry introduced herself,

described the warrant authorizing the search, and asked if Jafari wanted to speak with her. 28 Terry

told Jafari that if he agreed to speak with her the conversation could occur in the apartment, in a

car outside the apartment, or at the FBI office. 29 She specifically informed Jafari that he need not

submit to an interview and that he could leave at any time. 30

                Jafari said he would speak with Terry in the car. 31 After February-appropriate

clothing was located, Jafari accompanied Terry and Special Agent Daryl Allison to a nearby

government sport utility vehicle. 32 Jafari was not handcuffed. 33 Terry sat in the rear driver’s side

seat across from Jafari. 34 Jafari sat in the rear passenger-side seat across from Terry. 35 Allison sat

in the front in the driver’s seat. 36 A ninety-minute recorded interview followed. 37 Fourteen

minutes into the interview the following colloquy occurred:

                        SA Terry: Everybody talks and this is your opportunity to
                tell me what happened okay? It’s really important that we continue

        24
           Id.
        25
           Id. at ¶ 6.
        26
           Id. at ¶ 7.
        27
           Id.
        28
           Id.
        29
           Id.
        30
           Id. at ¶¶ 7, 10.
        31
           Id. at ¶ 7.
        32
           Id. at ¶¶ 7, 8.
        33
           Id. at ¶ 7.
        34
           Id. at ¶ 8.
        35
           Id.
        36
           Id.
        37
           Id. at ¶ 9; see also Docket No. 55 (conventionally filed CD of February 9, 2016 recorded
interviews).

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                        Page 4
       Case 3:16-cr-00016-TMB            Document 58         Filed 07/14/16       Page 4 of 13
                this conversation that you’re upfront with me, tell me exactly what
                happened, how it happened and your side of the story cause this is
                pretty much the only chance you get to do that. After today, I’m not
                going to talk to you anymore. And all these other people have
                already started flipping because everybody talks man, you know
                that, everybody talks so don’t be the last person to talk cause when
                you’re the last person to talk, --- we see it all the time, you know
                people think they’re gonna beat it and then they’ll go “no no I’m not
                gonna say anything” and then eventually they go to jail and they’ll
                go “oh shit I wanna talk” and I’m like it’s too late now, cause
                everyone’s already made their deals okay? So obviously we’re here
                because, I mean I’m not sure why you used the car that was
                registered in your name but

                        Jafari: I didn’t use anything

                         SA Terry: I gotcha, ok. Let’s get past, so let’s start, so let’s
                take little baby steps okay. First step is, let’s get past you not being
                involved. I know you are involved, I didn’t come to ask you if you
                were involved, I know you are okay? And we’re not gonna play
                semantics of “I wasn’t in the car, I didn’t hold the gun.” I wanna
                know exactly from you what happened and how it happened from
                beginning to end. Because you don’t want any of these other jokers
                telling your story because when they tell your story it’s gonna make
                you look really bad.

                        Jafari: They can tell their story all they want ma’am.

                        SA Terry: I understand but

                        Jafari: But what comes out of my mouth is what’s from my
                heart. And I can tell you straight up that I was not there when it
                happened, that was my vehicle and that was it. But further than
                that, I would like to have a lawyer present.

                        SA Terry: Okay

                       Jafari: Because, you know, but that part about my uncle
                that was not a lie so

                        SA Terry: Oh no, I don’t

                        Jafari: Just so you know

                        SA Terry: No no I have no idea whether he’s your uncle or
                not. I know that


United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                        Page 5
       Case 3:16-cr-00016-TMB            Document 58         Filed 07/14/16       Page 5 of 13
                        Jafari: Yeah of course, I just want to put that out there

                        SA Terry: Okay, that’s cool I mean

                       Jafari: Because that was not a lie – you can talk to him, call
                 him whatever. Cause he’s

                        SA Allison: Will he pick up the phone?

                        SA Terry: Yeah

                        Jafari: I don’t know

                        SA Terry: Probably not

                        SA Allison: He probably won’t pick up the phone because
                 he doesn’t know who we are

                        SA Terry: Yeah probably not. Okay I gotcha

                        Jafari: But yeah, I did get that truck for 12

                        SA Terry: Yeah

                        Jafari: And yeah

                         SA Terry: You know, I mean it’s up to you what you gonna
                 do but if what you’re saying is true then all you have to do is just
                 tell me what they told you and you would be, probably better off,
                 well at least better off than them. So let’s just start with that. Who
                 actually borrowed the car. 38

During the interview, Jafari made incriminating statements. He denied involvement in the robbery,

but admitted loaning his car to the robbers and receiving $40,000, apparently in return for the loan

of the car. 39




        38
           Docket No. 39 at 2-5 (emphasis added); see also Docket No. 55 (conventionally filed CD of
February 9, 2016 recorded interviews).
        39
           Docket No. 50 at ¶ 9; see also Docket No. 55 (conventionally filed CD of February 9, 2016
recorded interviews) at Exhibit 2 – First Interview.

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                        Page 6
        Case 3:16-cr-00016-TMB           Document 58         Filed 07/14/16       Page 6 of 13
                The first interview ended when Terry left the sport utility vehicle to check on the

status of the search and to get a copy of the search warrant. 40 When she returned, Jafari still was

sitting in the vehicle with Allison. 41 Terry again activated her recording device and told Jafari that

the search was still underway, that copies of the warrant were in his apartment, that he was not

under arrest, and that he was free to leave. 42 Terry provided Jafari with a business card so he could

contact her if he wanted to provide any additional information about the case. 43 This conversation

lasted about three minutes. 44

                Jafari got out of the sport utility vehicle and returned to his apartment. 45 Terry and

Allison accompanied Jafari to the apartment and obtained a chair for him to sit on in the outside

hallway while the search continued inside. 46 As he waited, the searching officers discovered a

handgun and a bag containing $18,400 on the ground outside Jafari’s third floor apartment

window. 47 When Terry asked about the handgun, Jafari said he found it at a party and that he

tossed it out the window when he heard the FBI knock. 48 This recorded conversation lasted about

six minutes. 49 Again, Terry advised Jafari that he could not return to his apartment until the search

was completed, but that he was not under arrest and was free to leave at any time. 50 Jafari remained




        40
           Docket No. 50 at ¶ 10.
        41
           Id.
        42
            Id.; see also Docket No. 55 (conventionally filed CD of February 9, 2016 recorded interview)
at Exhibit 3 – Second Interview.
        43
           Docket No. 50 at ¶ 10.
        44
           Id.
        45
           Id. at ¶ 11.
        46
           Id.
        47
           Id.
        48
           Id.; see also Docket No. 55 (conventionally filed CD of February 9, 2016 recorded interview) at
Exhibit 4 – Third Interview.
        49
           Id.
        50
            Docket No. 55 (conventionally filed CD of February 9, 2016 recorded interviews) at Exhibit 4
– Third Interview.

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                        Page 7
       Case 3:16-cr-00016-TMB             Document 58        Filed 07/14/16       Page 7 of 13
seated in the hallway near his apartment. After this conversation, Terry left to interview Jarron

Lewis-Daniel at a different location. 51

                After Terry left, Special Agent Ormberg and Task Force Officer Clark interviewed

Jafari. 52 This interview occurred in a vehicle and was recorded on a video recorder. 53 At the

outset, Ormberg advised Jafari that he was free to leave, but gave him a Miranda warning “based

on some of the stuff we found in the house.” 54 Jafari acknowledged his rights and expressly agreed

to speak with Ormberg and Troy. 55 During this interview, Ormberg and Troy used incriminating

statements Jafari earlier gave to Terry to formulate their own questions. 56 Jafari’s responses

continued to be incriminating. 57 When this questioning ended an hour or so later, these officers

arrested Jafari and charged him with armed bank robbery.

                                     III.    ISSUE PRESENTED

                Did the FBI obtain Jafari’s statements in violation of the Fifth and Sixth

Amendments as explicated in Edwards v. Arizona?

                                            IV.   ANALYSIS

                Upon a careful and through examination of FBI questioning of Jafari on February 9,

2016, this Court respectfully recommends that the District Court, upon independent review, deny

the motion to suppress at Docket No. 39. This result is compelled because Jafari’s statements were

entirely free and voluntary, and because he was never in Miranda custody during his conversations


        51
            Docket No. 50 at ¶ 13.
        52
            Id.
         53
            Docket No. 55 (conventionally filed CD of February 9, 2016 recorded interviews) at Exhibits 5a,
5b – Fourth Interview.
         54
            Docket No. 55 (conventionally filed CD of February 9, 2016 recorded interview) at Exhibits 5a,
5b. The video recording appears incomplete. However, Exhibit 5a captures the Miranda advisement and
Jafari’s waiver.
         55
            Id.
         56
            Id.
         57
            Id.

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                        Page 8
       Case 3:16-cr-00016-TMB               Document 58       Filed 07/14/16       Page 8 of 13
with Special Agent Terry. The result also is compelled because the Sixth Amendment right to

counsel had not attached; the formal charging process had not yet been initiated.

A.      The Fifth Amendment and the Edwards Rule

                 In Miranda v. Arizona, 58 the Supreme Court has determined that custodial

interrogation is inherently coercive. 59           To protect the individual subjected to custodial

interrogation, the Court has directed law enforcement to advise the individual of his or her rights

to silence and to counsel before questioning can begin. 60 In Edwards v. Arizona, 61 the Supreme

Court ruled that all custodial questioning must cease whenever the person unequivocally asserts

his or her Fifth Amendment right to counsel. 62 Indeed, questioning may continue only after

counsel has been provided or the person, having received the Miranda advisement, initiates further

communication with law enforcement. 63 The right to counsel during custodial interrogation is

grounded in the Constitution 64 and is implicated whenever the person is said to be in Miranda

custody. 65 Conversely, the Edwards rule does not apply when the person is not in Miranda

custody. 66 Thus, un-coerced, free, and voluntarily responses to police questioning do not violate

the Edwards rule, even after a desire for counsel is expressed, when the person is not in Miranda

custody.




        58
              384 U.S. 436 (1966).
        59
              New York v. Quarles, 467 U.S. 649, 654 (1984) (citing Miranda, 484 U.S. at 460-61, 467).
           60
              Id.
           61
              451 U.S. 477 (1981).
           62
              Id. at 484-85.
           63
              Id.
           64
              Dickerson v. United States, 530 U.S. 428, 444 (2000).
           65
              See, e.g., Howes v. Fields, 132 S. Ct. 1181, 1189 (2012) (“As used in our Miranda case law,
‘custody’ is a term of art that specifies circumstances that are thought generally to present a serious danger
of coercion.”).
           66
              Cf. United States v. Hines, 963 F.2d 255, 256 (9th Cir. 1992) (per curiam) (“It is well established
. . . that the Fifth Amendment right to counsel under Miranda does not vest until a defendant is taken into
custody.”).

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                        Page 9
        Case 3:16-cr-00016-TMB              Document 58           Filed 07/14/16        Page 9 of 13
                The Supreme Court has defined “custodial interrogation” as “questioning initiated

by law enforcement officers after a person has been taken into custody or otherwise deprived of

his [or her] freedom of action in any significant way.” 67 The Miranda test for custody is

objective. 68 Evaluation of a Miranda custody claim requires: (1) an inquiry into the circumstances

surrounding the interrogation; and (2) a determination of whether a reasonable person in those

circumstances would have felt free to terminate the interrogation and leave. 69 The ultimate inquiry

“is simply whether there is a formal arrest or restraint on freedom of movement of the degree

associated with a formal arrest.” 70 Courts must weigh all of the circumstances surrounding the

interrogation and decide how a reasonable person in the defendant’s position would perceive his

or her circumstances. 71 The subjective views of the interrogating officer or the person being

questioned do not control. 72 Factors to be considered include the location of the questioning, 73 the

duration of the questioning, 74 statements made during the interview, 75 the presence or absence of

physical restraints during the questioning, 76 and the release of the interviewee at the end of the

interview. 77

                In the present case, Jafari submitted to three audio recorded non-Mirandized

interviews with Terry and Allison and one video recorded Mirandized interview with Ormberg




        67
           Miranda, 384 U.S. at 444.
        68
           Yarborough v. Alvarado, 541 U.S. 652, 663 (2004) (quoting Stansbury v. California, 511 U.S.
318, 323 (1994) (per curiam)).
        69
           Thompson v. Keohane, 516 U.S. 99, 112 (1995).
        70
           Yarborough, 541 U.S. at 662 (quoting California v. Beheler, 463 U.S. 1121, 1125 (1983) (per
curiam)).
        71
           Id. at 663 (citing Stansbury, 511 U.S. at 322).
        72
           Id. (citing Stansbury, 511 U.S. at 323).
        73
           Howes v. Fields, 132 S. Ct. 1181, 1189 (2012).
        74
           Id.
        75
           Id.
        76
           Id.
        77
           Id.

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                       Page 10
      Case 3:16-cr-00016-TMB            Document 58         Filed 07/14/16       Page 10 of 13
and Clark. 78 The Court has listened to the recordings in their entirety and nothing occurred during

the various interviews that would cause a reasonable person in Jafari’s position to conclude that

he could not terminate the interview and leave.

                  At the outset of each interview, including the final Mirandized interview, the

officers expressly told Jafari that he was free to leave at any time and that he was under no

obligation to answer any questions. Each interview was conversational in tone and, while the

interviewing officers were sometimes skeptical of Jafari’s answers, their demeanor and

questioning throughout was respectful and polite. Jafari was never restrained at any time during

the interviews. Indeed, the only limitation placed on him was the prohibition that he not return to

the apartment during the search. Even then, the officers secured a chair for him to sit in while he

waited in the hallway for the search to be completed. All of these facts mitigate against a Miranda

custody determination. The interviews were not lengthy and, in any event, Jafari elected to remain

at the scene for the duration of the search.

                  The only factor that weighs in favor of a Miranda custody determination is the fact

that Jafari was arrested at the conclusion of the interview with Ormberg and Clark. But there is

nothing about that fact to suggest that Jafari was in Miranda custody at any time during his

conversations with Terry and Allison. Under these circumstances, this Court readily concludes

that Jafari was not in Miranda custody and, for that reason, the Edwards rule does not apply.




        78
             See supra n.54.

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                       Page 11
      Case 3:16-cr-00016-TMB             Document 58        Filed 07/14/16       Page 11 of 13
B.      The Sixth Amendment Right to Counsel has No Application

                Jafari, without briefing or citation to authority, also grounds his right to counsel

suppression claim in the Sixth Amendment. 79 But Edwards is not a Sixth Amendment case. 80

More importantly, the Sixth Amendment right to counsel does not attach until “at or after the

initiation of adversary judicial criminal proceedings – whether by way of formal charge,

preliminary hearing, indictment, information, or arraignment.” 81 Thus, in this case there is no

basis for Sixth Amendment claim because, at the time of the interviews, formal charges had not

been initiated against Jafari. Accordingly, the Sixth Amendment does not provide a basis for

barring admission of Jafari’s statements. 82

                                         V.    CONCLUSION

                Based on the foregoing analysis, this Court respectfully recommends that the

District Court, upon independent review, deny the motion to suppress at Docket No. 39.

                DATED this 14th day of July, 2016, at Anchorage, Alaska.


                                                                     /s/ Kevin F. McCoy
                                                                        Kevin F. McCoy
                                                                United States Magistrate Judge



                Pursuant to Fed. R. Crim. P. 59(b)(2) and D. Alaska Loc. Mag. R. 6(a), a party
seeking to object to this final finding and recommendation shall file written objections with the
Clerk of Court no later than the CLOSE OF BUSINESS on July 28, 2016. Pursuant to Fed. R.
Crim. P. 59(b)(3), objections will be considered first by the District Court Judge, who will then
accept, reject, or modify the recommendation, or resubmit the matter to the Magistrate Judge for
additional consideration. Failure to object to a magistrate judge’s findings of fact may be treated

        79
            Docket No. 39 at 1.
        80
           Edwards, 451 U.S. at 480 n.7 (“We thus need not decide Edwards’ claim that the State deprived
him of his right to counsel under the Sixth Amendment . . . [because] the Sixth Amendment right to counsel
arises whenever an accused has been indicted or adversary criminal proceedings have otherwise begun[.]”).
        81
            United States v. Harrison, 213 F.3d 1206, 1209 (9th Cir. 2000) (quoting Kirby v. Illinois, 406
U.S. 682, 689 (1972)).
        82
            McNeil v. Wisconsin, 501 U.S. 171, 175-76 (1991).

United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                       Page 12
      Case 3:16-cr-00016-TMB             Document 58         Filed 07/14/16       Page 12 of 13
as a procedural default and waiver of the right to contest those findings on appeal. Miranda v.
Anchondo, et al., 684 F.3d 844 (9th Cir. 2012). The Ninth Circuit concludes that a district court
is not required to consider evidence introduced for the first time in a party’s objection to a
magistrate judge’s recommendation. United States v. Howell, 231 F.3d 615 (9th Cir. 2000).
Objections and responses shall not exceed five (5) pages in length, and shall not merely reargue
positions presented in motion papers. Rather, objections and responses shall specifically designate
the findings or recommendations objected to, the basis of the objection, and the points and
authorities in support. Response(s) to the objections shall be filed on or before the CLOSE OF
BUSINESS on August 4, 2016. The parties shall otherwise comply with provisions of D. Alaska
Loc. Mag. R. 6(a).

                Reports and recommendations are not appealable orders. Any notice of appeal
pursuant to Fed. R. App. P. 4(a)(1) should not be filed until entry of the District Court’s judgment.
See Hilliard v. Kincheloe, 796 F.2d 308 (9th Cir. 1986).




United States v. Lewis-Daniel                                         Case No. 3:16-cr-00016-02-TMB-KFM
Final Report and Recommendation re Third Motion To Suppress (Docket No. 39)                       Page 13
      Case 3:16-cr-00016-TMB            Document 58         Filed 07/14/16       Page 13 of 13
